
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on May 17, 1977 (346 So.2d 1214) reversing the judgment of the circuit court of Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed July 27, 1978 (361 So.2d 411) and mandate now lodged in this court, quashed this ,court’s judgment and remanded the cause for reinstatement of this trial court’s judgment,
NOW, THEREFORE, It is Ordered that the mandate of this court heretofore issued on June 20, 1977 is withdrawn, the judgment of this court filed May 17, 1977 is vacated, the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court, the judgment of the trial court appealed from is reinstated and affirmed. Costs allowed shall be taxed in the trial court (Rule 3.16, Florida Appellate Rules.)
